     Case: 1:13-dp-20140-JJH Doc #: 52 Filed: 09/23/21 1 of 11. PageID #: 1236




                       IN THE UNITED STATES DISTRICT
                     COURT FOR THE NORTHERN DISTRICT
                         OF OHIO WESTERN DIVISION


Andrea K. Drake, et. al.,                                Case No.: 1:13-dp-20140

       Plaintiffs,

v.

Depuy Orthopaedics, Inc. et. al.,

       Defendants.

                                -and-

Steven M. Johnson,                                       Case No.: 1:17-dp-20085

       Petitioner,

v.

William Scott Drake,

       Respondent.



    WILLIAM SCOTT DRAKE’S RESPONSE TO STEVEN M.
     JOHNSON’S APPLICATION TO CONFIRM DOMESTIC
 ARBITRATION AWARD; AND MOTION TO VACATE DOMESTIC
                ARBITRATION AWARD.

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        The Sixth Circuit Court of Appeals reversed and remanded because the

Sixth Circuit was not satisfied with reasoning used to vacate the domestic

                                         1
    Case: 1:13-dp-20140-JJH Doc #: 52 Filed: 09/23/21 2 of 11. PageID #: 1237




arbitration award. The Sixth Circuit did not instruct this Court to confirm the

arbitration award, rather the Sixth Circuit narrowly held that “the district court’s

reliance on a mix of contract principles, estoppel theory, and inherent authority

does not withstand scrutiny.” As the Sixth Circuit instructs in their opinion the

Attorney Representation Agreement (“ARA”) fails to incorporate issues of

arbitrability. Therefore, this Court should vacate the arbitration award because the

arbitrator exceeded his powers, or so imperfectly executed them that a mutual,

final, and definite award upon the subject matter was not made.

       A. FACTS

      The facts of this case have remained unchanged in large part from this court’s

last opinion on the issue. (See 1:13-dp-20140-JJH Doc. #36 at 1-3, attached as

Exhibit A to Affidavit of Derek I. Stewart). The only facts to add since this

synopsis are that the Sixth Circuit reversed and remanded this Court’s order

vacating the arbitration award. The Court’s basis for reversal and remand was that

an arbitration award can only be vacated in a few circumstances and that the basis

by which this Court vacated the arbitration award did not withstand scrutiny. The

Sixth Circuit’s reversal and remand was not a direction to confirm the domestic

arbitration award, but rather a rejection of the specific manner in which this

arbitration award was vacated.




                                         2
    Case: 1:13-dp-20140-JJH Doc #: 52 Filed: 09/23/21 3 of 11. PageID #: 1238




        B. DISCUSSION

        There remain multiple issues on remand that require this court’s legal

analysis. The Sixth Circuit invited a discussion as to the completeness of the ARA

in deciding issues of arbitrability which dictate the arbitrator’s scope and authority.

Additionally, a motion to confirm the domestic arbitration award was not made to

a court of competent jurisdiction until well over a year after the corrected final

award issued. Finally, under a laches theory this Court should equitably estop

Petitioner from enforcing the arbitration award as he waited nearly nine months

after the Sixth Circuit’s order reversing and remanding to bring this present

application.

   I.      BASIS FOR VACATING UNDER FAA

        The Sixth Circuit expressly held that the Drakes have not waived their ability

to challenge the validity of the arbitration award for basis other than partiality and

those raised on appeal. (See 19-4074 Doc. #36-2 at 8, attached as Exhibit B to

Affidavit of Derek I. Stewart). The Federal Arbitration Act provides that an

arbitration award may be vacated in four instances;

   1) where the award was procured by corruption, fraud, or undue means; 2) where
   there was evident partiality or corruption in the arbitrators, or either of them; 3)
   where the arbitrators were guilty of misconduct in refusing to postpone the
   hearing, upon sufficient cause shown, or in refusing to hear evidence pertinent
   and material to the controversy; or of any other misbehavior by which the rights
   of any party have been prejudiced; 4) where the arbitrators exceeded their
   powers, or so imperfectly executed them that a mutual, final, and definite award
   upon the subject matter submitted was not made.
                                           3
    Case: 1:13-dp-20140-JJH Doc #: 52 Filed: 09/23/21 4 of 11. PageID #: 1239




See 9 U.S.C. §10(a)(1-4). The Sixth Circuit held arguments other than partiality (9

U.S.C. §10(a)(2)) would not be foreclosed by waiver. (See 19-4074 Doc. #36-2 at

8, Exhibit B). The Sixth Circuit found in pertinent part:

   [T]he FAA did not prevent Drake from otherwise challenging the validity of the
   agreement to arbitrate the fee dispute after the award. (citation omitted). Such a
   challenge could be foreclosed by waiver if the party consented to the arbitration,
   but the district court found no waiver here because the record was “replete with
   Drake’s assertions that the MDL is the proper forum for resolution of any fee
   dispute”. (citation omitted). Johnson does not contest that finding, so we assume
   waiver does not apply here.

(See 19-4074 Doc. #36-2 at 8; 19, Exhibit B) Accordingly, the Sixth Circuit has

left open additional challenges to the arbitration award under 9 U.S.C. §10.

   II.      ARBITRABILITY VS. ARBITRATION

         One such challenge is whether issues of arbitrability were for the arbitrator

To decide or for the district court to decide. As the Sixth Circuit noted, the MSA

explicitly noted what rules govern an arbitration proceeding under the MSA. The

ARA signed by Petitioner and Respondent in this case, does not. The general rule

is that the parties can agree to have an arbitrator determine issues of arbitrability,

but that if the agreement to arbitrate is silent as to issues of arbitrability the court

should      not    assume     the   parties       agreed   to   arbitrate   arbitrability.

First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944-45 (1995). In First Options

an arbitration award was confirmed by the district court before being reversed (and

vacated) on appeal when the court of appeal determined that the agreement did not
                                              4
    Case: 1:13-dp-20140-JJH Doc #: 52 Filed: 09/23/21 5 of 11. PageID #: 1240




contemplate arbitrability. See Id. at 941. The Supreme Court affirmed the Third

Circuit’s decision. (Id. at 947). The Sixth Circuit in this case concluded in their

opinion in this case that issues of arbitrability had been preserved by respondent

and arbitrability was not contemplated in the ARA. Therefore, as further explained

below, this Court should vacate the arbitration award under 9 U.S.C. §10 (a)(4).

      Arbitrability is left unaddressed completely in the ARA as noted by the Sixth

Circuit:

      Johnson contends that the Special Master’s dismissal of the second JAMS
      proceeding was a binding determination that the fee dispute was not
      arbitrable under the MSA. Assuming that the parties agreed to have JAMS
      Rules govern that arbitration, the Special Master would have been delegated
      the authority “to determine jurisdiction and arbitrability issues as a
      preliminary matter.” JAMS Rule 11(b). (citation omitted). Otherwise, the
      MSA’s incorporation of the AAA’s Commercial Arbitration Rules could
      provide “clear and unmistakable” evidence of an agreement to arbitrate
      questions of arbitrability.

      [Footnote 4] The same cannot be said for the ARA, which did not incorporate
      similar rules to govern any arbitration. Nor does the ARA’s provision for
      arbitration of any dispute arising from the “interpretation, performance, or
      breach of this Fee Agreement” provide comparably “clear and unmistakable”
      evidence that the parties agreed to have the arbitrator decide questions of
      arbitrability.

(See 19-4074 Doc. #36-2 at 9 n.4, Exhibit B). If the parties to an arbitration

expressly select the AAA rules in the agreement to arbitrate that is sufficient to

submit questions of arbitrability to the arbitrator. Petrofac, Inc. v. DynMcDermott

Petro. Operations Co., 687 F. 3d 671, 674-75 (5th Cir. 2012); See also Blanton v.

Domino’s Pizza Franchising LLC, 962 F.3d 482, 845-46 (6th Cir. 2020).
                                         5
      Case: 1:13-dp-20140-JJH Doc #: 52 Filed: 09/23/21 6 of 11. PageID #: 1241




         Parties to a contract may, by mutual agreement, place before an arbitrator

“not only the merits of a particular dispute but also ‘gateway’ questions of

‘arbitrability’. See Patton v. Johnson, 915 F.3d 827, 834-35 (1st Cir. 2019)1 (citing

Henry Schein, Inc.v. Archer & White Sales, Inc., 139 S. Ct. 524, 527 (2019)). In

Patton the contract contained an arbitration clause and a clause that JAMS would

decide issues of arbitrability. The court found that the language of that attorney

representation agreement provided clear and unmistakable evidence as to the

arbitrability of the matter.

         The arbitrability issues that were categorically determined by the arbitrator

in this case include that jurisdiction and venue were proper, that the arbitrator was

able to exercise jurisdiction over respondents (people who have never been to

Texas) and finally, what rules should apply to the arbitration (i.e. JAMS or AAA,

etc…). In this case JAMS was selected as the arbitrator group by Johnson who filed

a complaint seeking to arbitrate this matter. Respondent has objected at every step

of the proceedings and the Sixth Circuit has now observed that the ARA did not

incorporate rules to govern arbitrability. (See 19-4074 Doc. #36-2 at 9 n.4, Exhibit

B). The Sixth Circuit went further concluding that the ARA did not provide clear

and unmistakable evidence that the parties agreed to have the arbitrator decide




1
 On information and belief, the Johnson in Patton v. Johnson is the petitioner here. The ARA at issue in Patton is
critically different from the one at issue here in that the ARA before the court does not have an arbitrability clause.

                                                           6
    Case: 1:13-dp-20140-JJH Doc #: 52 Filed: 09/23/21 7 of 11. PageID #: 1242




questions of arbitrability. (Id.). The ARA is silent on issues of arbitrability, and the

Supreme Court has held that when issues of arbitrability are not clearly conveyed

to the arbitrator they are issues for the district court to decide. First Options of Chi.,

Inc., 514 U.S. at 944-45 (1995). The Supreme Court has held that when an arbitrator

exceeds their powers, including as to issues of arbitrability, that is a basis by which

to vacate the arbitration award under 9 U.S.C. § 10 (a)(4). See Henry Schein, Inc.,

139 S. Ct. 524 at 530 (2019).

       In this case, given that the arbitration proceeded over objection and without

these issues of arbitrability being determined. This court should find that the

arbitrator exceeded his powers, or so imperfectly executed them that a mutual, final,

and definite award upon the subject matter submitted was not made. See 9 U.S.C.

§ 10 (a)(4). Arbitrator Ashworth exercised his authority under the JAMS rules; rules

that were not part of the ARA; rules that properly should have been determined as

an arbitrable issue by the district court. Therefore, the corrected final award should

be vacated.

   III.   DELAY IN CONFIRMING AWARD

       As an additional basis for vacating the arbitration award this court should

consider petitioner’s delay in confirming the corrected final award. The FAA

provides that an award shall be confirmed by a court specified in the contract within

a year. 9 U.S.C. § 9. If no court is provided in the contract, then application can be


                                             7
    Case: 1:13-dp-20140-JJH Doc #: 52 Filed: 09/23/21 8 of 11. PageID #: 1243




made to any US district court in and for the district within the award was made. Id.

In this case, the ARA specified that “judgment upon any award rendered by the

arbitrator in such proceedings may be entered by any state or federal court with

jurisdiction over the matter.” (19-4074, Doc. #10-4 at ¶ 14, attached as Exhibit C

to Affidavit of Derek I. Stewart). Petitioner attempted to confirm the arbitration

award within a year in the U.S. District Court for the Northern District of Texas.

(19-4075 Doc. #30, 39, attached as Exhibit D to Affidavit of Derek I. Stewart).

This application was dismissed for lack of personal jurisdiction. Petitioner’s next

attempt to confirm this arbitration award was made to the US District Court for the

Northern District of Texas. (19-4075, Doc. #40, attached as Exhibit E to Affidavit

of Derek I. Stewart). This attempt to confirm the arbitration award was transferred

to the Norther District of Ohio for consolidation with the pending MDL. (19-4075,

Doc. #51, attached as Exhibit F to Affidavit of Derek I. Stewart). The next petition

to confirm the arbitration award is the present application under consideration by

this Court. This application was the first one made to a state or federal court with

jurisdiction over the matter as defined in the ARA. This application was made over

five years after the arbitration award was received. Therefore, under 9 U.S.C. § 9,

petitioner’s arbitration award should be vacated as well.

   IV.   LACHES

   Finally, this arbitration award should be dismissed under the equitable doctrine


                                          8
    Case: 1:13-dp-20140-JJH Doc #: 52 Filed: 09/23/21 9 of 11. PageID #: 1244




of laches. Laches is a “defense developed by courts of equity” to protect defendants

against “unreasonable and prejudicial delay in commencing suit. SCA Hygiene

Prods. Aktiebolag v. First Quality Baby Prods., LLC, 137 S. Ct. 954, 960 (2017).

In this case there are two bases for Laches, first in petitioner’s delay in confirming

the arbitration award and second in petitioner’s delay in taking action after the Sixth

Circuits reversal and remand. In this case petitioner’s delay in both cases has been

unreasonable and prejudicial and therefore this court can also vacate the arbitration

award under the equitable defense of laches.

       C. CONCLUSION

      On remand from the Sixth Circuit this court has been tasked with rendering

an opinion consistent with the opinion of their opinion that the arbitration award

could not be vacated under the theories presented. However, the Sixth Circuit

unmistakably observed that arbitrability was not a part of the ARA and US Supreme

Court case law is clear that if an arbitration agreement does not contain an

arbitrability clause the case is to be submitted to the district court. Arbitrator

Ashworth’s lack of deference in this respect is fatal under 9 U.S.C. §10(a)(4).

Additionally, this court can and should vacate petitioner’s arbitration award under

9 U.S.C. § 9 and the equitable defense of laches. This case has been litigated,

appealed and relitigated since 2016 at least. Petitioner’s delay in acting on the

remand should render their arbitration award vacated.


                                           9
   Case: 1:13-dp-20140-JJH Doc #: 52 Filed: 09/23/21 10 of 11. PageID #: 1245




       This Court should consider holding a hearing to better discuss the issues

raised in petitioner’s application and respondent’s response.

                                              Respectfully,



                                              MESHBESHER & SPENCE, LTD.

Dated: _September 23, 2021

                                              By:__/s/Derek I. Stewart ___________
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                                         10
  Case: 1:13-dp-20140-JJH Doc #: 52 Filed: 09/23/21 11 of 11. PageID #: 1246




                            Certificate of Service

      I hereby certify that on September 23, 2021, the foregoing document was

served on all parties or their counsel of record through the CM/ECF system if they

are registered users or, if they are not, by placing a true and correct copy in the

United States mail, postage prepaid, to their address of record.

                                       /s/ Derek Stewart
                                       Derek Stewart




                                        11
